                    IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

_____________________________________
IN RE:                       .        :
                                      :             CHAPTER 11
MBMK PROPERTY HOLDINGS, LLC, :
                                      :             Bankruptcy No. 2:22-bk-13121 (MDC)
                     Debtor           :
____________________________________:
                                      :
MBMK PROPERTY HOLDINGS, LLC, :                      Adversary Proceeding No. 23-00062 (MDC)
                     Plaintiff,       :
                                      :
               v.                     :
                                      :
WILMINGTON TRUST, NATIONAL            :
ASSOCIATION, As Trustee, For          :
The Benefit of The Holders Of         :
Corevest American Finance             :
2018-2 Trust Mortgage                 :
Pass-Through Certificates;            :
                                      :
BAY MANAGEMENT GROUP OF               :
PHILADELPHIA, LLC;                    :
                                      :
JAMES PAUL, d/b/a James Paul          :
the ALPS Group;                       :
                                      :
               and                    :
                                      :
ALPS GROUP, INC. d/b/a James Paul     :
the ALPS Group,                       :
                                      :
                     Defendants.      :
                                      :
                                      :

                                            ORDER

       THIS COURT having considered Defendant, James Paul’s, Motion to Dismiss

Plaintiff’s / Debtor’s MBMK Property Holdings, LLC Adversary Complaint for Lack of Subject

Matter Jurisdiction and Failure to State a Claim Pursuant to Fed R. Civ. P. 12(b) and 28 U.S.C. §




4871-0224-2699
1332, any opposition and argument related thereto, and for good cause shown, it is hereby

ORDERED that the motion is GRANTED for lack of subject matter jurisdiction, and all claims

in the Complaint against Defendant, James Paul, are hereby dismissed.



                                                   ______________________________
                                                               COLEMAN, J.

DATED: ___________________




4871-0224-2699
